Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 1 of 6




                                             CIV-18-1029-G
Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 2 of 6
Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 3 of 6
Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 4 of 6
Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 5 of 6
Case 5:18-cv-01029-SLP Document 1 Filed 10/18/18 Page 6 of 6
